490 F.2d 87
    84 L.R.R.M. (BNA) 3022, 72 Lab.Cas.  P 14,163
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.BROTHERHOOD OF TEAMSTERS &amp; AUTO TRUCK DRIVERS, LOCAL NO. 70,INTERNATIONAL BROTHERHOOD OF TEAMSTERS,CHAUFFEURS, WAREHOUSEMEN &amp; HELPERS OFAMERICA, Respondent.
    No. 72-2927.
    United States Court of Appeals, Ninth Circuit.
    Dec. 5, 1973.
    
      Marcel Mallet-Prevost, Asst. Gen. Counsel, NLRB, Washington, D.C., Roy O. Hoffman, Director, Region 20, NLRB, San Francisco, Cal., for petitioner.
      Duane B. Beeson (argued), of Brundage, Neyhart, Grodin &amp; Beeson, San Francisco, Cal., for respondent.
      OPINION
      Before BROWNING and ELY, Circuit Judges, and TAYLOR,1 District Judge.
      PER CURIAM:
    
    
      1
      The petitioning Board's Decision and Order is reported at 197 NLRB No. 24.  Our review of the record convinces us that the Board's critical factual determinations are supported by substantial evidence.
    
    
      2
      We need not decide whether an agreement to extend a collective bargaining contract beyond its stated term must be express to be enforceable.  The trial examiner, whose findings the Board adopted, considered both verbal statements and conduct by the parties.  He concluded that no contract of any kind existed during the relevant period.
    
    
      3
      The Union's alternative contention, that the new contract was effective as soon as agreement was reached, was not raised before the trial examiner or the Board.  We therefore decline to consider it.
    
    
      4
      Finally, we cannot disturb the Board's broad remedy.  It is supported by facts showing a proclivity by the Union to violate the same sections of the National Labor Relations Act involved here.  NLRB v. Express Publishing Co., 312 U.S. 426, 61 S.Ct. 693, 85 L.Ed. 930 (1941); NLRB v. Brotherhood of Carpenters, 321 F.2d 126 (9th Cir. 1963).
    
    
      5
      Accordingly, the Board's Order will be enforced.
    
    
      
        1
         Honorable Fred M. Taylor, United States District Judge, District of Idaho, sitting by designation
      
    
    